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06
                               UNITED STATES DISTRICT COURT
07                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )
10                                        )             Case No. 06-418 M
           v.                             )
11                                        )
     KESHUNG ZHU,                         )             DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offense charged:

15          Count 1: Conspiracy to Transport Individuals in Furtherance of Prostitution in violation

16 of 18 U.S.C. §§ 371, 1952.

17          Count 2: Conspiracy to Transport and Harbor Illegal Aliens in violation of 8 U.S.C. §§

18 1324(a)(1)(A)(ii), (a)(1)(A) (iii), (a)(1)(A)(v)(l), and (a)(1(B)(l).

19          Count 3: Conspiracy to Engage in Money Laundering in violation of 18 U.S.C. §§

20 1956(a)(2)(A), (a)(2)(B)(l), and (h).

21 Date of Detention Hearing: August 15, 2006.

22          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

23 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

24 that there are no conditions or combination of conditions other than detention that will

25 reasonably assure the appearance of defendant as required and the safety of other persons and

26 the community.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          (1)    The Pretrial Services Report dated August 10, 2006, reveals that there is an

03 immigration detainer lodged against the defendant. It appears that he is a citizen of China.

04          (2)    Defendant’s ties to this community and to the Western District of Washington are

05 unknown.

06          (3)    Defendant has stipulated to detention and has reserved the right to contest his

07 continued detention if there is a change in circumstances.

08          IT IS THEREFORE ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a correction facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 government, the person in charge of the corrections facility in which defendant

17                 is confined shall deliver the defendant to a United States Marshal for the purpose

18                 of an appearance in connection with a court proceeding; and

19          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

20                 counsel for the defendant, to the United States Marshal, and to the United States

21                 Pretrial Services Officer.

22
                   DATED this 15th day of August, 2006.


                                                         A
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                                                         JAMES P. DONOHUE
25                                                       United States Magistrate Judge
26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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